                                                                  (SPACE BELOW FOR FILING STAMP ONLY)
      Case 1:06-cr-00184-LJO Document 131 Filed 10/10/07 Page 1 of 3


 1       MARK W. COLEMAN, #117306
           NUTTALL & COLEMAN
 2               2445 Capitol Street, Suite 150
                     FRESNO, CA 93721
 3                  PHONE (559) 233-2900
                     FAX (559) 485-3852
 4
 5     ATTORNEYS FOR     Defendant,
                        JAMES MANN
 6
 7                                 UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                           Case No.: 1:06-CR-00184 LJO
10
                   Plaintiff,
11                                                          STIPULATION TO CONTINUE
           vs.                                                   MOTION HEARING
12                                                                     AND
     JAMES MANN, ET AL.,                                            O R D E R
13
                   Defendants.
14                                                       Date: October 12, 2007
                                                         Time: 8:30 a.m.
15                                                       Dept: LJO
16
17        IT IS HEREBY STIPULATED by and between attorneys for the
18   respective        parties           herein   that    the   Motion     Hearing       currently
19   scheduled for October 12, 2007, be continued to January 11, 2008,
20   at 8:30 a.m. in the courtroom of the Honorable LAWRENCE J. O’NEIL.
21        Counsel for Defendants herein have requested this continuance
22   due to the fact that the U.S. Attorney has made an offer to
23   defendants which, at this time, is a “package deal.”                              Two of the
24   three defendants may be willing to consider the offer, however, the
25   third defendant needs more time to review factual and legal issues
26   involved.
27        All parties want to resolve this issue prior to hearings on
28   the pending motions.
      Case 1:06-cr-00184-LJO Document 131 Filed 10/10/07 Page 2 of 3


 1         The U.S. Attorney has given the defendant’s until the Motions
 2   Hearing in this case to reject or accept the offer.
 3         Additionally, Roger T. Nuttall, Esq., counsel for DES JARDINS
 4   is   currently   involved   in    a    trial   entitled   PEOPLE   V.   LARISSA
 5   SHUSTER, and does not anticipate that the trial will be concluded
 6   until late December 2007
 7         Counsel for Defendants, VPI, DES JARDINS and MANN, have spoken
 8   with Assistant U. S. Attorney, MARK CULLERS, who is agreeable to
 9   this continuance.
10   DATED: October 9, 2007.
11                                          Respectfully submitted,
12                                          NUTTALL & COLEMAN
13
                                              /s/ Roger T. Nuttall
14                                    By: _______________________________
                                          ROGER T. NUTTALL
15                                        Attorneys for Defendant
                                          HAROLD DES JARDINS
16
     DATED: October 9, 2007.
17
18                                            /s/ Mark W. Coleman
                                      By: _______________________________
19                                        MARK W. COLEMAN
                                          Attorneys for Defendant
20                                        JAMES MANN
21   DATED: October 9, 2007.
22
                                                  /s/ Michael Dias
23                                    By:
                                            MICHAEL DIAS
24                                          Attorneys for Defendant
                                            VETERINARY PHARMACEUTICALS INC.
25
26   DATED: October 9, 2007.
                                             /s/ Mark Cullers
27                                          ___________________________
                                            MARK CULLERS
28                                          Assistant U. S. Attorney

                                              2
      Case 1:06-cr-00184-LJO Document 131 Filed 10/10/07 Page 3 of 3


 1                                   O R D E R
 2
              Good Cause Appearing, The Court finds good cause for the
 3
     continuance of the motions.      The trial date of April 28, 2008 will
 4
     remain as a FIRM trial date.
 5
 6
 7   IT IS SO ORDERED.
 8   Dated:     October 10, 2007           /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          3
